
302 N.Y. 617 (1951)
A. B. Magonigle Trucking Co., Inc., Appellant,
v.
Jennie Tambini et al., Respondents.
Court of Appeals of the State of New York.
Argued November 29, 1950.
Decided January 18, 1951
Louis Granat and James M. Fawcett for appellant.
Frank P. Luongo and Antonio M. Luongo for respondents.
LOUGHRAN, Ch. J., LEWIS, CONWAY, DESMOND, DYE, FULD and FROESSEL, JJ., concur.
*619Per Curiam.
The judgment of the Appellate Division should be affirmed insofar as it dismisses the first and second causes of action in the amended complaint as to defendants Laurence F. Tambini and Tambini Storage Warehouse, Inc., and modified, insofar as it dismisses the second cause of action as against Jennie Tambini, by denying the motion to dismiss said cause of action insofar as it charges her with fraud, without costs. *620 Inasmuch as plaintiff's first cause of action is sufficient as against defendant Jennie Tambini under subdivision (d) of section 8 of the Commercial Rent Law (L. 1945, ch. 3, as amd.; McKinney's Unconsol. Laws, § 8528, subd. [d]), its second cause of action is likewise sufficient against her (Sno-Wite, Inc., v. Gerald Operating Corp., 297 N.Y. 1007; Rosner v. Textile Binding &amp; Trimming Co., 300 N.Y. 319). Plaintiff has no cause of action against persons other than those defined as landlords in section 2 and persons in the nature of purchasers from the landlord as defined in subdivision (d) of section 8 of the Commercial Rent Law (Rosner v. Textile Binding &amp; Trimming Co., supra; David v. Fayman, 298 N.Y. 669; Rosenbluth v. Sackadorf, 298 N.Y. 761).
The judgments should be modified in accordance with the opinion herein and, as so modified, affirmed, without costs.
Judgment accordingly.
